Case 1:17-cv-02914-AKH Document 1 Filed 04/21/17 Page 1of13

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MAPLEWOOD AT UPPER EAST SIDE, LLC,

CaseNo.
- against —

MALA SENDYK, AS ADMINISTRATOR OF THE ; COMPLAINT

ESTATE OF BENJAMIN SENDYK, and SHARON:

SENDYK, AS ADMINISTRATOR OF THE

ESTATE OF BENJAMIN SENDYK CHICAGO

TITLE INSURANCE COMPANY, as escrow

agent/stakeholder,

Defendants.

Plaintiff Maplewood at Upper, East Side, LLC (“Maplewood”), by its attorneys,
complains against the defendants Mala Sendyk, as Administrator of the Estate of Benjamin
Sendyk (“Mala”), Sharon Sendyk, as Administrator of the Estate of Benjamin Sendyk
(collectively with Mala, the “Estate”), and Chicago Title Insurance Company (“Chicago Title”),
in its capacity as Escrow Agent/Stakeholder, and makes the following allegations:

INTRODUCTION
1. This is an action for breach of contract and for declaratory relief. Pursuant
to a tax contribution agreement entered into between the Estate and Maplewood, Maplewood
agreed to pay a portion of the income tax associated with the sale by the Estate of certain real
property in New York, New York in the event that any taxing authority asserts that additional
income taxes are due for certain reasons enumerated in the agreement. Maplewood deposited
Four Million Dollars ($4,000,000) in escrow which could be drawn on in the event that the

$2,500,000 contributed by the Estate into escrow was insufficient to pay for such additional tax.

 
Case 1:17-cv-02914-AKH Document1 Filed 04/21/17 Page 2 of 13

Since the Estate materially breached the tax contribution agreement, pursuant to the express
terms of the agreement, Maplewood -is entitled to the return of its $4,000,000 deposit and a
declaration that it has no further obli gations under the agreement.
THE PARTIES

2. At all times relevant herein, Maplewood was and is a Connecticut limited
liability company organized and existing under the laws of the State of Connecticut, maintaining
an office and doing business at One Gorham Island, Westport, Connecticut 06880. Maplewood’s
sole member is Gregory D. Smith, a Connecticut resident.

3, Mala Sendyk is the Administrator of the Estate of Benjamin Sendyk. Upon
information and belief, Mala Sendyk resides at 2804 Avenue Z, Brooklyn, New York 11235.

4, Upon information and_ belief; Sharon Sendyk is the successor
Administrator of the Estate of Benjamin Sendyk. Upon information and belief, Sharon Sendyk
resides at 9 Van Arsdale Court, East Brunswick, New Jersey 08816.

5. Chicago Title Insurance Company is a corporation incorporated under the
laws of Florida, which, upon information and belief, has a principal place of business at 601
Riverside Avenue, Jacksonville, Florida 32204. |

JURISDICTION AND VENUE

6. This Court has jurisdiction over this civil action pursuant to 28 U.S.C. §

1332(a), based on the complete diversity of the parties and an amount in controversy in excess of
$75,000, exclusive of interest and costs.

| 7. Venue is proper in this District under 28 US.C. § 1391 in that the claims

herein arose in this District, as reflected by the location of the real property at issue and the

parties’ agreement to resolve disputes related to the subject tax contribution agreement in the state

 
Case 1:17-cv-02914-AKH Document 1 Filed 04/21/17 Page 3 of 13

and federal courts located in New York County, State of New York. In paragraph 8 of the tax
contribution agreement; each of the parties agreed that “any suit, action or proceeding, at law or in
equity, arising out of or relating to th[e] Agreement shall be filed only in state or federal court

located in New York County, State of New York, and irrevocably and unconditionally consents

and submits to the exclusive jurisdiction of such courts over any suit, action or proceeding arising

out of or relating to this Agreement. Each party hereto waives any defense to such jurisdiction and
-venue.”

- FACTS

8. Pursuant to a Purchase and Sale Agreement dated as of June 11, 2015
~ (“PSA”) by and among the Estate, as seller, and 1808 2" Realty LLC (“1808 Realty”), as buyer,
the Estate agreed to sell the property known as 1808 Second Avenue, New York, New York (the
“Premises”’), to 1808 Realty. |
9. Pursuant to an Assignment and Assumption of Purchase and Sale
Agreement dated June 10, 2015, Maplewood assumed 1808 Realty’s right, title, interest and
obligations under the PSA subject to the terms and provisions of the Assignment Agreement. —
10. Upon information and belief, B&H Inc. (“B&H”) acquired the Premises in
1969. | |
11. Upon information and belief, in 1974, B&H was administratively
' dissolved, as a result of which the assets of B&H were deemed to have been distributed to (or
were held in trust for distribution to) Benjamin Sendyk, the sole shareholder of B&H at the time
_ B&H was administratively dissolved.

12. Upon information and belief, Benjamin Sendyk died in 2011.

 
Case 1:17-cv-02914-AKH Document1 Filed 04/21/17 Page 4 of 13

13. | Upon information and belief, as a result of Benjamin Sendyk’s death all of
the assets of Benjamin Sendyk were held by the Estate as of July 24, 2015.

14. Upon information and belief, B&H conveyed the Premises to the Estate.

15. Upon information and belief, as a result of the conveyance of the Premises
to 1808 Realty or its assignee (including Maplewood), the Estate and/or B&H is expected to
recognize a gain, which gain would be subject to tax liability |
The Contribution and Escrow Agreements

16. The Estate, 1808 Realty, B&H and Maplewood entered into a Tax
Contribution Agreement made as of July 24, 2015 (the “Contribution Agreement”). A copy of
the Contribution Agreement is attached hereto as Exhibit 1 (without exhibits) and incorporated
herein by reference.

17. The Contribution Agreement defines Maplewood and 1808 Realty as
Contributors, and each individually a Contributor.

18. Pursuant to the Contribution. Agreement, Maplewood and 1808 Realty
agreed to contribute funds to assist the Estate in defraying tax obligations arising in connection
with the sale of the Premises to the extent such tax obligations exceeded $2,500,000 under
certain circumstances and subject to the terms and conditions of the Contribution Agreement.
The Estate agreed to contribute Two Million Five Hundred Dollars ($2,500,000.00) (the “Estate
Tax Contribution”), Maplewood agreed to contribute Four Million Dollars ($4,000,000) (the
“Maplewood Tax Contribution”) and 1808 Realty agreed to contribute $1,500,000. The Estate
deposited $2,500,000 in cash and Maplewood deposited $4,000,000 in cash into escrow to secure
their potential obligations to contribute to any income tax due as a result of the sale of the

Premises.

 
Case 1:17-cv-02914-AKH Document 1 Filed 04/21/17 Page 5 of 13

19. As reflected in paragraph 1 of the Contribution Agreement, the parties
expected that the Estate would be-subject to U.S. federal, state, and local income taxation in an
amount not in excess of Two Million Dollars ($2,000,000.00) (“Tax Liability”) as a result of the
gain the Estate expected to recognize as a result of the sale of the Premises to Maplewood.

20. Paragraph 1 of the Contribution Agreement permitted the Estate to draw
from escrow an amount up to, but not in excess of, the Estate Tax Contribution to satisfy such
Tax Liability.

21. In the event that the Internal Revenue Service or any state or local taxing
authority (a “Taxing Authority”) asserts that additional income taxes are due from the Estate »
and/or B&H as a result of a contention by a Taxing Authority that (i) income or gain must be
recognized by B&H as a result of the disposition (or deemed disposition) of the Premises by
B&H, and/or (41) additional income or gain must be recognized by the Estate as a result of a

_ distribution (or deemed distribution) of the net proceeds from such disposition of the Premises by
B&H to the Estate (“Additional Tax Liability”), paragraph 1 of the Contribution Agreement
provides that, subject to limitations of Section 2 of the Contribution Agreement, payment of any
such Additional Tax Liability shall be drawn from the balance, if any, of the Estate Tax
Contribution first until the Estate Tax Contribution is exhausted, and thereafter from the
Maplewood Tax Contribution until the Maplewood Tax Contribution is exhausted.

22. Paragraph 1 of the Contribution Agreement further provides that in the
event that there are any unsatisfied Additional Tax Liabilities after the Estate Tax Contribution
and Maplewood Tax Contribution have been drawn in their entirety, 1808 Realty shall pay an
amount not in excess of One Million Five Hundred Dollars ($1,500,000.00) (“1808 Realty Tax

Contribution”) to satisfy such unpaid Additional Tax Liabilities. In the event following

 
Case 1:17-cv-02914-AKH Document 1 Filed 04/21/17 Page 6 of 13

payment in full by 1808 Realty of the 1808 Realty Tax Contribution there are any unsatisfied
Additional Tax Liabilities, paragraph 1 of the Contribution Agreement provides that Maplewood
shall pay an amount equal to such unsatisfied Additional Tax Liability not to exceed One Million
Dollars ($1,000,000.00). ‘Maplewood’s remaining possible obligation of $1,000,000 and 1808
Realty’s obligation to contribute $1,500,000 were evidenced by the Contribution Agreement and
not funds deposited in escrow. Any Additional Tax Liability remaining thereafter is the sole
obligation of the Estate.

| 23. The Estate, Maplewood and Chicago Title entered into an escrow
agreement the same date as the Contribution Agreement, i.e. July 24, 2015, (the “Escrow
Agreement”). A true and correct copy of the Escrow Agreement is attached hereto as Exhibit 2
and is incorporated herein by reference.

24. Pursuant to the Escrow Agreement, Chicago Title, as escrow agent, agreed
to hold the Maplewood Tax Contribution and the Estate Tax Contribution in escrow and —
distribute these contributions in accordance with the terms and conditions of the Escrow
Agreement and the Contribution Agreement. _

25. Maplewood deposited with Chicago Title the Four Million Dollar
($4,000,000) Maplewood Tax Contribution, to be held in an escrow account at Citibank
(“Escrow”) subject to the terms and conditions of the Escrow Agreement.

26. The Estate deposited with Chicago Title the Two Million Five Hundred
Thousand Dollars ($2,500,000) Estate Tax Contribution, to be held in escrow subject to the
terms and conditions of the Escrow Agreement.

27. The Escrow Agreement defines the Maplewood Tax Contribution and the

Estate Tax Contribution collectively as the Escrow Deposit.

 
Case 1:17-cv-02914-AKH Document 1 Filed 04/21/17 Page 7 of 13

28. Pursuant to Section I of the Escrow Agreement, Chicago Title was to
“invest the Escrow Deposit in an interest bearing account at Citibank”.

29. Paragraph 2 of the Contribution Agreement provides, inter alia, that
during the period commencing on the date hereof [July 24, 2015] and
ending three years from the date of this Agreement, after compliance
with the terms and conditions otherwise set forth herein, the
Contributors’ obligations to make a payment in respect of any
Additional Tax Liability shall be satisfied from the Escrow but only
after the Estate Tax Contribution shall have first been exhausted.

30. | Under the Contribution Agreement, the Estate was required to provide

Maplewood with tax returns reporting the income tax consequences of the sale of the Premises at
least fifteen-days prior to (i) the date on which the Estate intended to file the returns; or (ii) the
date on which the returns were required to be filed, whichever is earlier.

31. Given the magnitude of the obligation that Maplewood agreed to assume
in respect of funding the Additional Tax Liabilities, the 15 day advance notice requirement was
specifically designated as a material term of the Contribution Agreement in order to ensure that
Maplewood had adequate time to review the tax return(s) that the Estate planned to file. .

32. Specifically, paragraph 3(a) of the Contribution Agreement provides that:

_ The Estate shall provide to the Contributors copies of the Taxpayers’
U.S. federal, state, and local income tax returns reporting the income
tax consequences of the Transaction for the Contributors’ review and
comment not less than fifteen (15) calendar days before the earlier of
(1) the date (including extensions). such tax return is required to be

filed with such Taxing Authority, or (2) the date such tax return is |
actually filed with such Taxing Authority.

33. The Contribution Agreement provides that the failure of the Estate to
provide such tax returns not less than fifteen days before the earlier of their filing date or due

date was a material breach of the agreement, causing the agreement to become null and void.

 
Case 1:17-cv-02914-AKH Document 1 Filed 04/21/17 Page 8 of 13

34. Paragraph 7 of the Contribution Agreement provides, inter alia, that the
Contribution Agreement:

[s]hall terminate earlier [than October 15, 2022] and be of no further
force and effect upon (J) the occurrence of a material breach by the
Estate of its obligations under this Agreement, which shall be deemed
to include failure to comply with the Estate’s obligations pursuant to
paragraph 3(a), 3(b), 3(c), 3(d), or 3(e), including failure to timely
provide Contributors with copies of the tax returns or notices as
required in paragraph 3(a), 3(b) and 3(c)....

35. Pursuant to the Escrow Agreement, Maplewood is entitled to demand the
return of the Maplewood Tax Contribution in the event of the Estate’s material breach of the
Contribution Agreement.

36. Section 2(B) of the Escrow Agreement provides, infer alia, that:

In the event that any party, hereto, in its sole discretion, determines the
conditions for payment.of all or part of the Escrow Deposit have been
satisfied pursuant to the Contribution Agreement, such party, by
simultaneous written notice (“Release Notice”) delivered to Escrow
Agent and to the other parties hereto, may demand payment of all or
any part of the Escrow Deposit to the extent that such party is so
entitled.

37. Paragraph 8 of the Contribution Agreement’ provides, infer alia, that it
“shall be governed and construed in accordance with the laws of the State of New York without
regarding to the conflict of law principles of such state.”

38. Similarly, Section 9 of the Escrow Agreement provides, infer alia, that the
Escrow Agreement “shall be construed, enforced and administered in accordance with the laws
of the State of New: York, applicable to contracts executed, delivered and to be fully performed
in State of New York.”

39. Paragraph 8 of the Contribution Agreement provides that:

the prevailing party in any suit, action, or proceeding arising out of

or related to this Agreement shall be reimbursed by the other party
for its or his/her attorneys’ fees and other costs and expenses,

8

 
Case 1:17-cv-02914-AKH Document1 Filed 04/21/17 Page 9 of 13

including travel, incurred in the investigation, preparation, defense
and prosecution of such action or proceeding.

The Estate’s Breach of the Contribution Agreement

40. On March 14, 2017, the Estate provided Maplewood with a copy of its
2015 New York State and federal tax returns. Neither tax return had been previously provided to
-Maplewood. |

41. On March 15, 2017, the Estate filed its 2015 New York State and federal
tax returns. | |

42. The Estate thus provided Maplewood with a copy of the tax returns only
one day prior to their filing rather than fifteen days prior to their filing as required by paragraph
3(a) of the Contribution Agreement. | |

| 43. On April 3, 2016, Maplewood sent Chicago Title, by overnight mail, a
Release Notice seeking the return of the Maplewood Tax Contribution (i.e. $4,000,0000), with
interest, as a result of the Estate's breach of paragraph 3(a) of the Contribution Agreement.

44. _—_ Also on April 3, 2016, Maplewood sent a copy of the Release Notice, by
overnight mail, to the Estate and the other required parties under the Escrow Agreement and
Contribution Agreement.

45. Pursuant to Section 2(B) of the Escrow Agreement, “If within five (5)
business days after receipt of the Release Notice, the other party [to the Escrow Agreement] (or
its attorney) has not given written notice ... to [Chicago Title] that the payment to the
requesting party is authorized, then the payment.request by such Release Notice shall be deemed
to be in dispute.” |

46. The Estate did not respond to the Release Notice.

 
Case 1:17-cv-02914-AKH Document 1 Filed 04/21/17 Page 10 of 13

AS AND FOR A FIRST CLAIM FOR RELIEF AGAINST THE ESTATE
(Breach of Contract)

47. Maplewood incorporates by reference Paragraphs | through 46 as if fully
set out herein.

’ 48. | Maplewood has complied in all material respects with the terms and
conditions of the Contribution Agreement.

49. Maplewood has complied in all material respects with the terms and
conditions of the Escrow Agreement

50. | The Estate failed to provide Maplewood with a copy of the state and
federal tax returns filed by (or on behalf of) the Estate on March 15, 2017 “not less than fifteen
(15) calendar days before” their filing “for review and comment” as required by paragraph 3(a)
of the Contribution Agreement.

51. Pursuant to paragraph 7 of the Contribution Agreement, the Estate’s
failure to provide Maplewood with a copy of the Estate’s state and federal tax returns at least 15
days prior to the Estate’s filing of such tax returns is a material breach of the Contribution
Agreement.

52. As a result of the Estate’s material breach of the Contribution Agreement,
pursuant to paragraph 7 of the Contribution Agreement, the Contribution Agreement terminated
and is “of no further force and effect”.

53. As aresult, Maplewood is not obligated to make any payment pursuant to
the Contribution Agreement with respect to any Additional Tax Liability.

54. Maplewood demanded the return of the Maplewood Tax Contribution

from the Escrow.

10

 
Case 1:17-cv-02914-AKH Document 1 Filed 04/21/17 Page 11 of 13

55. The Estate, through its silence, objected to the return of the Maplewood
Tax Contribution to Maplewood. |

56. The Estate’s objection to the return of the Maplewood Tax Contribution to
Maplewood was lacking in foundation and wrongful as the Contribution Agreement is of no
further effect.

57. | Maplewood has been damaged by the Estate’s breach of the Contribution
Agreement in an amount to be determined at trial, but not less than Four Million Dollars
($4,000,000), plus accrued interest, and Maplewood’s attorney’s fees and other costs and
expenses, including travel, incurred in the investigation, preparation, and prosecution of this
action.

58. Additionally, as a result of the Estate’s breach of the Contribution
Agreement, Maplewood was required to commence this action and name Chicago Title, as ~
escrow agent, as a necessary party to this action. —

59. In the event that Chicago Title seeks indemnity pursuant to the Escrow
Agreement from the Estate and Maplewood for its costs (including attorneys’ fees) incurred in
connection with this action, the Estate is required to pay the entirety of such costs and fully
indemnify Chicago Title for any claim made by Chicago Title for indemnity under the Escrow

Agreement.

AS AND FOR A SECOND CLAIM FOR RELIEF
(Declaratory Judgment)

60. | Maplewood incorporates by reference Paragraphs 1 through 59 as if fully

set out herein.

11

 
Case 1:17-cv-02914-AKH Document 1 Filed 04/21/17 Page 12 of 13

61. An actual controversy exists between Maplewood and Defendants relating
to Maplewood’s obligations under the Contribution Agreement and Maplewood’s right to return
of the Maplewood Tax Contribution.

62. Circumstances exist that justify the determination by this Court, pursuant
to 28 U.S.C. § 2201, of the rights and obligations of the parties, a determination that will be
beneficial to all of the parties.

63. | Pursuant to the terms of the Escrow Agreement, Maplewood caused the
Maplewood Tax Contribution to be delivered to Chicago Title.

64.  Asaresult of the Estate’s breach of the Contribution Agreement, pursuant
to the terms of the Contribution Agreement and Escrow Agreement, (i) the Maplewood Tax
Contribution should be disbursed to Maplewood from Escrow; and (ii) Maplewood should have
no further obligations under the Contribution Agreement including any obligation to make any
payment with respect to any Additional Tax Liability.

65. The Estate disputes these contentions.

66. Chicago Title has not released the Maplewood Tax Contribution from
Escrow.

67. Accordingly, an actual dispute has arisen between Maplewood and the
Estate relating to their respective rights and obligations with respect to the Maplewood Tax
Contribution ‘retained in Escrow and Maplewood’s further obligations under the Contribution
Agreement.

68. | Maplewood requests a declaration that (i) it is entitled to distribution of

the Maplewood Tax Contribution from Escrow, plus interest; and (ii) it has no further obligations

12

 
Case 1:17-cv-02914-AKH Document1 Filed 04/21/17 Page 13 of 13

under the Contribution Agreement, including, without limitation, any obligation to make any

payment with respect to any Additional Tax Liability.

WHEREFORE, Maplewood requests:

a. On its First Claim for Relief against the Estate, damages in an amount to
be determined at trial in an amount not less than $4,000,000, plus accrued interest, and the cost
of any indemnification sought by Chicago Title from Maplewood;

| b. On its Second Claim for Relief against all defendants, a declaration that
Maplewood (i) is entitled to the release of the Maplewood Tax Contribution of $4,000,000, plus
accrued interest, from Escrow; and (ii) has no further obligations under the Contribution
Agreement, including, without limitation, any obligation to make any payment with respect to
any Additional Tax Liability;

c. From the Estate, Maplewood’s attorney's fees and other costs and

expenses, including travel, incurred in the investigation, preparation, and prosecution of this

action; and
d. For any additional and other relief this Court deems just and proper.
Respectfully submitted,
_ Dated: April 21,2017 BRYAN CAVE LLP

New York, New York
By: Vonal ¢ Vas

Daniel Waxman (DW-0599) -
Attorneys for Plaintiff

1290 Avenue of the Americas
New York, New York 10104
(212) 541-2000

13

 
